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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 DELORES EDITH BUNCH-KEEMER
 BEY,
                         Plaintiff,                 CIVIL ACTION FILE
 vs.                                                NO. 1:18-cv-2860-LMM
 STATE OF GEORGIA, et al,
                    Defendants.


                                      JUDGMENT

       This action having come before the court, Leigh Martin May, United States
District Judge, for consideration of the magistrate's report and recommendation, and the
court having adopted the same, it is
       Ordered and Adjudged that the action be DISMISSED, as frivolous and
REMANDING case number 18-D-30 to the Cobb County State Court.


       Dated at Atlanta, Georgia this 23rd day of July, 2018.

                                                JAMES N. HATTEN
                                                CLERK OF COURT


                                           By: s/ Harry F. Martin
                                               Deputy Clerk

Prepared, filed, and entered
in the Clerk's Office
    July 23, 2018
James N. Hatten
Clerk of Court


By: s/ Harry F. Martin
       Deputy Clerk
